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                          EXHIBIT N
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                      Case No. 9:19-cv-81160-RS




    APPLE INC.,

                                 Plaintiff,

            v.

    CORELLIUM, LLC,

                               Defendant.


                   DECLARATION OF JESSICA STEBBINS BINA
    IN SUPPORT OF PLAINTIFF APPLE INC.’S SUPPLEMENTAL BRIEF IN FURTHER
            SUPPORT OF MOTION FOR PROTECTIVE ORDER BARRING
                 DEPOSITION OF PLAINTIFF’S APEX EMPLOYEE

          1.      My name is Jessica Stebbins Bina. I am over the age of 18. I have personal

   knowledge of the facts contained herein, which are true and correct. If called as a witness, I could

   competently testify to these statements.

          2.      I am a partner at Latham & Watkins LLP and counsel for Apple Inc. (“Apple”) in

   this matter.

          3.      On March 23, 2020, Defendant Corellium, LLC (“Corellium”) took the deposition

   of Jason Shirk, who is an Engineering Program Manager responsible for the Apple Security Bounty

   and general outreach to the global security research community. I represented Apple and defended

   Mr. Shirk during this deposition. Of note, Mr. Shirk was employed by Apple at the time but has

   since left the company.

          4.      As of this filing, the parties have only received a rough transcript of Mr. Shirk’s



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   deposition, which we cannot submit to the Court because the utilization of the rough transcript is

   limited: “We further agree not to share, give, copy, scan, fax, or in any way distribute this rough

   draft in any form (written or computerized) to any party. However, our own experts, co-counsel,

   and staff may have limited internal use of same, with the understanding that we agree to destroy

   our rough draft and/or any computerized form, if any, and replace it with the final transcript upon

   its completion.” Apple will submit the relevant portions of the final transcript as soon as possible

   once it is ready.

           5.      Based on my personal knowledge attending the deposition, and my review of the

   relevant portions of the rough transcript, Mr. Shirk gave the following testimony at his deposition:

                       a. Mr. Shirk explained that he was an Engineering Program Manager

                            responsible for the Apple Security Bounty and general outreach to the

                            global security research community.

                       b. Mr. Shirk provided testimony regarding the Apple Security Bounty

                            program, the subject of Corellium’s counterclaims.

                       c. Mr. Shirk testified



                       d.



                       e.




                       f.




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          6.      On April 3, 2020, Corellium took the deposition of Sebastien Marineau-Mes, who

   is Vice President, Software at Apple. I represented Apple and defended Mr. Marineau during this

   deposition.

          7.       As of this filing, the paities have only received a rough trnnscript from of Mr.

   Mai·ineau's deposition, which we cannot submit to the Comt because the utilization of the rough

   transcript is limited: "Due to the need for the repo1ter to conect entries prior to ce1tification, it is

   agreed this draft will be used solely for the pmpose of augmenting counsel's notes and not for use,

   including citation, in any comt proceeding or distribution to any of pai·ty(s)" and "When prepared

   as a rough draft transcript, the transcript of the deposition may not be ce1tified and may not be

   used, cited, or transcribed as the ce1tified transcript of the deposition proceedings. The rough draft

   transcript may not be cited or used in any way or at any time to rebut or contradict the ce1tified

   transcript of deposition proceedings as provided by the deposition officer." Apple will submit the

   relevant portions of the final transcript as soon as possible once it is ready.

           8.      Based on my personal knowledge attending the deposition, and my review of the

   relevant portions of the rough transcript, Mr. Mai·ineau gave the following testimony at his

   deposition:

                      a. Mr. Marineau's title at Apple is Vice President, Software, and he repo1ts

                            directly to Mr. Federighi.

                       b. Mr. Marineau testified




                       C.
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                     d.



                     e.




                     f.




                     g.



                     h.




          I declare under penalty of perjury that the foregoing is true and correct.



   Executed on April 10, 2020
   in Culver City, CA                                   Jessica Stebbins Bina




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